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                 EXHIBIT 1
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               CLASS AND COLLECTIVE ACTION SETTLEMENT AGREEMENT

        This Class and Collective Action Settlement Agreement (“Agreement”) is made by and
between plaintiff Hana Etcheverry (“Plaintiff”), individually and on behalf of all others similarly
situated, and defendants Franciscan Health System D/B/A CHI Franciscan Health, Franciscan
Medical Group, Franciscan Health Ventures, Harrison Medical Center, and Harrison Medical
Center Foundation (collectively “Defendants”).

I.       DEFINITIONS

         In addition to other terms defined in this Agreement, the terms below have the following
         meaning:

         A.       “Action” means the Complaint that was filed in the United States District Court,
                  Western District of Washington and any amendments thereto, which is currently
                  captioned Hana Etcheverry v. Franciscan Health System d/b/a CHI Franciscan
                  Health, et al., Case No. 3:19-cv-05621-RJB-MAT.

         B.       “Class” means all current and former hourly, non-exempt employees employed by
                  Defendants in Washington in one or more of the job classifications in the table
                  below and subjected to an automated 30-minute meal period deduction policy at
                  any time during the Class Period.

 Certified Medical Assistant        Medical Assistant              RN-Clinic Oncology
 (“CNA”)
 CNA-Health Unit                    Medical Assistant Clinic       RN-Clinic Oncology Cert
 Coordinator
 CNA-Home Health Aide               Medical Assistant Clinic       RN-Clinic Oncology Lead-
                                    Lead                           Cert
 CNA-HUC-Monitor Tech               Medical Assistant Float II     RN-Clinic Specialty
 Combo
 CAN-Transporter                    Medical Assistant Lead         RN-Coordinator
 CAN-Transporter Diag               Medical Assistant Reg Float    RN-Enterostomal
 Imaging
 Endoscopy Tech                     Medical Assistant-Ortho Cast   RN-Homecare Charge
 Endoscopy Tech I                   Medical Assistant-Ortho Cast   RN-Injector
                                    Lead
 Endoscopy Tech II                  Monitor Tech-HLT Unit          RN-Lead
                                    Coord LD
 Endoscopy Tech Lead                Nurse Technician-Student       RN-Navigator
 Licensed Practical Nurse           Reg Medical Assistant Clinic   RN-Patient Care Coordinator
 (“LPN”)                                                           HA



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 LPN-Anesthesia                      Registered Medical Assistant      RN-Patient Care Coordinator
                                                                       HART
 LPN-Anesthesia Tech Cert            Registered Nurse (“RN”)           RN-Patient Care Coordinator
                                                                       IP
 LPN-Care Coordinator                RN-Cardiac Device                 RN-Patient Care Coordinator
                                                                       RR
 LPN-Case Coordinator                RN-Cert                           RN-Pre/Post Surgery
 LPN-C-Clinic                        RN-Charge                         RN-Residency
 LPN-Clinic                          RN-Charge Cert                    RN-Residency Program
 LPN-Clinic Coordinator              RN-Charge Relief                  RN-Resource
 LPN-Clinic Float II                 RN-Charge Relief Cert             RN-Resource Code
 LPN-Clinic Gastro                   RN-Clinic                         RN-Resource Periop
 LPN-Clinic Gastro Preadmit          RN-Clinic Cardio                  RN-Resource Periop Cert
 LPN-Clinic Lead                     RN-Clinic Float                   RN-SWAT
 LPN-Clinic Trauma                   RN-Clinic Float II                RN-SWAT Cert
 LPN-Lead                            RN-Clinic Gastro                  RN-Wound Care Coordinator
 LPN-Triage                          RN-Clinic Gastro Cert             RN-Wound Care Coordinator
                                                                       Cert
 Medical Assist Clinic Float         RN-Clinic Lead


         C.       “Class Counsel” means Beth E. Terrell and Toby J. Marshall of Terrell Marshall
                  Law Group PLLC and Carolyn H. Cottrell, Ori Edelstein and William M. Hogg of
                  Schneider Wallace Cottrell Konecky LLP.

         D.       “Class Counsel Fees Payment” and “Class Counsel Litigation Expenses Payment”
                  mean the amounts to be paid to Class Counsel for fees and expenses, respectively,
                  as approved by the Court to compensate them for their legal work in connection
                  with the Action, including their pre-filing investigation, their filing of the Action,
                  all related litigation activities, all Settlement work, all post-Settlement compliance
                  procedures, and related litigation expenses billed in connection with the Action.

         E.        “Class and Collective Data” means, for each Class Member, his or her name; last-
                  known mailing address; Social Security number (which will only be furnished to
                  the Settlement Administrator); his or her employee identification number; his or
                  her email address (if known); his or her dates of employment and/or number of
                  workweeks worked during the Class Period as a Class Member and number of
                  workweeks worked during the FLSA Collective Period as an FLSA Collective
                  Member.

         F.       “Class Member” is a member of the Class.

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         G.       “Class and Collective Notice” means the Notice of Proposed Settlement of Class
                  and Collective Action and Hearing Date for Final Court Approval substantively in
                  the form attached hereto as Exhibit A to this Agreement and incorporated by
                  reference into this Agreement.

         H.       “Class and Collective Notice Packet” means the Class and Collective Notice to be
                  provided to the Class Members by the Settlement Administrator in the form set
                  forth as Exhibit A to this Agreement and the FLSA Collective Consent form in the
                  form set forth as Exhibit B (other than formatting changes to facilitate printing by
                  the Settlement Administrator).

         I.       “Class Net Settlement Fund” means the Gross Settlement Amount less the Court-
                  approved amounts for the FLSA Net Settlement Fund, Class Representative Service
                  Payment, Class Counsel Fees Payment, Class Counsel Litigation Expenses
                  Payment, and Settlement Administration Expenses, but adding back the unclaimed
                  amount of the FLSA Net Settlement Fund.

         J.       “Class Period” means the period of time from April 9, 2015 through the date of
                  Preliminary Approval of the Settlement but excludes the time period covered by
                  any previous settlement involving the Class including, but not limited to, a
                  settlement with St. Joseph Medical Center which applied to registered nurses
                  through November 30, 2016.

         K.       “Class Representative Service Payment” means the service payment made to
                  Plaintiff in her capacity as Class Representative in order to compensate her for
                  initiating the Action, performing work in support of the Action, undertaking the
                  risk of liability for Defendants’ expenses in the event the Plaintiff was unsuccessful
                  in the prosecution of the Action, and for the general release of all claims by the
                  Plaintiff as set forth herein.

         L.       “Court” means the United States District Court for the Western District of
                  Washington.

         M.       “Defendants” means defendants Franciscan Health System D/B/A CHI Franciscan
                  Health, Franciscan Medical Group, Franciscan Health Ventures, Harrison Medical
                  Center, and Harrison Medical Center Foundation.

         N.       “Defendants’ Counsel” means Donald L. Samuels and Jessica M. Andrade of
                  Polsinelli LLP.

         O.       “Effective Date” means the date by which all of the following have occurred:

                  1.     This Agreement is approved by the Court; and

                  2.     The Judgment becomes Final as defined in Section I.P of this Agreement.

         P.       “Final” means the last of the following dates, as applicable:




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                  1.     If no objection to the Settlement is made, or if an objection to the Settlement
                         is made and Judgment is entered but no appeal is filed, the last date on which
                         a notice of appeal from the Judgment may be filed and none is filed.

                  2.     If Judgment is entered and a timely appeal from the Judgment is filed, the
                         date the Judgment is affirmed and is no longer subject to appeal.

         Q.       “Final Approval Hearing” means the hearing to be conducted by the Court to
                  determine whether to approve finally and implement the terms of this Agreement
                  and enter the Judgment.

         R.       “FLSA Collective” and “FLSA Collective Members” means all current and former
                  hourly, non-exempt employees employed by Defendants in Washington in one or
                  more of the job classifications listed in Section I.B and subjected to an automatic
                  time deduction policy and practice at any time during the FLSA Collective Period.

         S.       “FLSA Collective Consent Form” means the form that FLSA Collective members
                  must timely submit to become Opt-In Plaintiffs and receive a Settlement Share from
                  the FLSA Net Settlement Fund.

         T.       “FLSA Collective Period” means April 9, 2016 through the date of Preliminary
                  Approval of the Settlement.

         U.       “FLSA Net Settlement Fund” means the amount not to exceed $500,000 available
                  for payout to the Opt-In Plaintiffs.

         V.       “Gross Settlement Amount” means Five Million Five Hundred Thousand Dollars
                  ($5,500,000) to be paid by Defendants as provided by this Agreement. This amount
                  is an all-in amount and shall be inclusive of all payments of Settlement Shares to
                  the Class Members and FLSA Collective Members, Settlement Administration
                  Expenses, Class Counsel Fees Payment, Class Counsel Litigation Expenses
                  Payment, the Class Representative Service Payment and any other amounts
                  required for the full and final resolution of this Action, but excluding employer
                  payroll taxes, if any, due on the portion of the Settlement Shares allocated to wages
                  which shall not be paid from the Gross Settlement Amount and shall be the separate
                  additional obligation of Defendants.

         W.       “Judgment” means the Final Approval Order and Judgment entered by the Court
                  disposing of all issues raised in this Action.

         X.       “Non-Participating Class Member” means a Class Member who submits a valid
                  and timely Request for Exclusion.

         Y.       “Opt-In Plaintiffs” means Plaintiff, each person who has a consent on file with the
                  Court as of the date this Agreement is signed and each FLSA Collective Member
                  who timely submits a FLSA Collective Consent Form, and therefore opts in and
                  consents to participate in the FLSA component of the Action.



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         Z.       “Parties” means Plaintiff, Opt-in Plaintiffs, the Participating Class Members and
                  Defendants.

         AA.      “Participating Class Member” means a Class Member who does not submit a valid
                  and timely Request for Exclusion.

         BB.      “Plaintiff” means Hana Etcheverry.

         CC.      “Preliminary Approval of the Settlement” means the Court’s Order Granting
                  Preliminary Approval of the Settlement.

         DD.      “Released Class Claims” means the claims released in Section III.G.1 of the
                  Agreement.

         EE.      “Released Parties” means Defendants, their parents, predecessors, successors, all
                  affiliates, subsidiaries, and their respective officers, directors, agents, employees,
                  and stockholders.

         FF.      “Request for Exclusion” means the written request by a Class Member to exclude
                  himself or herself from the Settlement submitted in accordance with the instructions
                  in the Class and Collective Notice.

         GG.      “Settlement” means the disposition of the Action and all related claims effectuated
                  by this Agreement.

         HH.      “Settlement Administrator” means the administrator proposed by the Parties and
                  appointed by the Court to administer the Settlement. The determination of the
                  Settlement Administrator shall be agreed to by all counsel.

         II.      “Settlement Share” means each Participating Class Member’s share of the Class
                  Net Settlement Fund and each Opt-In Plaintiff’s share of the FLSA Net Settlement
                  Fund as provided by this Agreement.

II.      RECITALS

         A.       On April 9, 2019, Plaintiff filed a Complaint against Defendants in United States
                  District Court for the Western District of Washington. Plaintiff asserted claims that
                  Defendants:

                  1.     Failed to pay overtime in violation of the Fair Labor Standards Act
                         (“FLSA”), 29 U.S.C. § 207, and that Defendants’ violations were willful
                         within the meaning of 29 U.S.C. § 255(a);

                  2.     Failed to pay overtime in violation of the Revised Code of Washington
                         (“RCW) 49.46.130;

                  3.     Failed to provide required meal breaks in violation of RCW 49.12.020 and
                         Washington Administrative Code (“WAC”) 296-126-092;



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                  4.     Failed to provide required rest breaks in violation of RCW 49.12.020 and
                         WAC 296-126-092;

                  5.     Failed to pay minimum wages in violation of RCW 49.46.090;

                  6.     Failed to pay all wages owed at termination in violation of 49.48.010;

                  7.     Willfully refused to pay wages in violation of RCW 49.52.050; and

                  8.     Violated the Washington Consumer Protection Act, RCW 19.86.

         B.       On August 15, 2019, Defendants filed individual answers with affirmative defenses
                  to the Complaint.

         C.       On August 27, 2020, the Parties participated in an all-day mediation presided over
                  by Cliff Freed, a respected mediator of wage and hour class actions. Following the
                  mediation, the Parties represented by their respective counsel were able to agree to
                  settle the Action with the ongoing assistance of the mediator. This Agreement
                  replaces and supersedes any other agreements, understandings, or representations
                  between the Parties regarding the Settlement.

         D.       This Agreement represents a compromise and settlement of highly disputed claims.
                  Nothing in this Agreement is intended or will be construed as an admission by
                  Defendants that the claims in the Action of Plaintiff, the Class or the FLSA
                  Collective have merit or that Defendants bear any liability to Plaintiff, the Class or
                  the FLSA Collective on those claims or any other claims, or as an admission by
                  Plaintiff that Defendants’ defenses in the Action have merit. The Parties agree to
                  certification of the Class and the FLSA Collective for purposes of this Settlement
                  only. If for any reason the Settlement does not become effective, Defendants
                  reserve the right to contest certification of any class or collective for any reason and
                  reserve all available defenses to the claims in the Action.

         Based on these Recitals that are a part of this Agreement, the Parties agree as follows:

III.     SETTLEMENT TERMS AND CONDITIONS

         A.       Gross Settlement Amount. Subject to the terms and conditions of this Agreement,
                  the maximum amount that Defendants will pay under this Settlement is Five
                  Million Five Hundred Thousand Dollars ($5,500,000). This amount is all-inclusive
                  of all payments contemplated in this resolution, excluding any employer payroll
                  taxes on the portion of the Settlement Shares allocated to wages which shall be
                  separately paid by Defendants to the Settlement Administrator.

         B.       Payments from the Gross Settlement Amount. Subject to the terms and
                  conditions of this Agreement, the Settlement Administrator will make the following
                  payments out of the Gross Settlement Amount:

                  1.     To Plaintiff: In addition to the Settlement Shares to be paid to Plaintiff,
                         Plaintiff will apply to the Court for an award of not more than $10,000 as

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                         the Class Representative Service Payment. Defendants will not oppose a
                         Class Representative Service Payment of no more than $10,000 for
                         Plaintiff. The Settlement Administrator will pay the Class Representative
                         Service Payment approved by the Court out of the Gross Settlement
                         Amount. If the Court approves a Class Representative Service Payment of
                         less than $10,000 for Plaintiff, the remainder will be retained in the Class
                         Net Settlement Fund for distribution to Participating Class Members.
                         Payroll tax withholding and deductions will not be taken from the Class
                         Representative Service Payment and instead a Form 1099 will be issued to
                         Plaintiff with respect to the payment. To receive the payment, Plaintiff
                         agrees to a general release of all claims as set forth below.

                  2.     To Class Counsel: Class Counsel will apply to the Court for an award of
                         not more than one-third (1/3) of the Gross Settlement Amount, which is
                         presently $1,833,333.33 as their Class Counsel Fees Payment and an
                         amount not more than $11,000 for all expenses incurred as documented in
                         Class Counsel’s billing records as their Class Counsel Litigation Expenses
                         Payment. Defendants will not oppose their request for a Class Counsel Fees
                         Payment and Class Counsel Litigation Expenses Payment consistent with
                         this Agreement and approved by the Court. The Settlement Administrator
                         will pay the Class Counsel Fees Payment and Class Counsel Litigation
                         Expenses Payment out of the Gross Settlement Amount. If the Court
                         approves a Class Counsel Fees Payment or a Class Counsel Litigation
                         Expenses Payment less than provided for in this Agreement, the remainder
                         will be retained in the Class Net Settlement Fund for distribution to
                         Participating Class Members. Payroll tax withholding and deductions, if
                         any, will not be taken from the Class Counsel Fees Payment and Class
                         Counsel Litigation Expenses Payment and instead one or more Forms 1099
                         will be issued to Class Counsel with respect to those payments. The
                         payment of the Class Counsel Fees Payment and Class Counsel Litigation
                         Expenses Payment shall be made to Terrell Marshall Law Group PLLC and
                         Schneider Wallace Cottrell Konecky LLP.

                  3.     To the Settlement Administrator. The Settlement Administrator will pay
                         out of the Gross Settlement Amount to itself its reasonable fees and
                         expenses that are documented and approved by the Court in an amount not
                         to exceed $73,000 (“Settlement Administration Expenses”). To the extent
                         the Settlement Administration Expenses that are documented and approved
                         by the Court are less than $73,000, the remainder will be retained in the
                         Class Net Settlement Fund for distribution to Participating Class Members.

         C.       Payments from the FLSA Net Settlement Fund. Subject to the terms and
                  conditions of this Agreement, the Settlement Administrator will pay a Settlement
                  Share from the FLSA Net Settlement Fund to each Opt-In Plaintiff. The Settlement
                  Share for each Opt-In Plaintiff will be calculated by (a) dividing the FLSA Net
                  Settlement Fund by the total number of workweeks worked by all FLSA Collective
                  Members during the FLSA Collective Period and (b) multiplying the result by each
                  individual Opt-In Plaintiff’s workweeks worked during the FLSA Collective

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                  Period. The Settlement Administrator will make withholdings from each Opt-In
                  Plaintiff’s Share in accordance with Section III.D.3 below. Any amount allocated
                  to the FLSA Net Settlement Fund and not claimed by the Opt-In Plaintiffs will be
                  redistributed to the Class Net Settlement Fund.

         D.       Payments from the Class Net Settlement Fund.

                  1.     Settlement Share. Subject to the terms and conditions of this Agreement,
                         the Settlement Administrator will pay a Settlement Share from the Class
                         Net Settlement Fund to each Participating Class Member. The submission
                         of a claim form is not required to be paid.

                  2.     Calculation. The Settlement Share for each Participating Class Member
                         will be calculated by (a) dividing the Class Net Settlement Fund by the total
                         number of workweeks worked by all Participating Class Members during
                         the Class Period and (b) multiplying the result by each individual
                         Participating Class Member’s workweeks during the Class Period.

                  3.     Withholding.

                          a.      Subject to approval by the Court, one-third (1/3) of each Settlement
                                  Share is in settlement of wage claims (the “Wage Portion”).
                                  Accordingly, the Wage Portion is subject to wage withholdings,
                                  and shall be reported on IRS Form W-2 and shall be paid for from
                                  the Gross Settlement Amount.

                          b.      Subject to approval by the Court, one-third (1/3) of each Settlement
                                  Share is in settlement of claims for interest and one-third (1/3) of
                                  each Settlement Share is in settlement of claims for penalties
                                  allegedly due to employees (collectively the “Non-Wage Portion”).
                                  The Non-Wage Portion shall not be subject to wage withholdings,
                                  and shall be reported on IRS Form 1099.

                  4.     Effect of Non-Participating Class Members. Non-Participating Class
                         Members will receive no Settlement Share, and their Request for Exclusion
                         will reduce neither the Gross Settlement Amount nor the Class Net
                         Settlement Fund. Their respective Settlement Shares will remain a part of
                         the Class Net Settlement Fund for distribution to Participating Class
                         Members on a pro rata basis relative to their Settlement Shares.

         E.       Appointment of Settlement Administrator. After obtaining a quote from
                  mutually acceptable and qualified settlement administrators, the Parties have
                  mutually agreed to ask the Court to appoint Settlement Services, Inc. as the
                  qualified administrator, to serve as the Settlement Administrator, which, as a
                  condition of appointment, will agree to be bound by this Agreement with respect to
                  the performance of its duties and its compensation. The Settlement Administrator’s
                  duties will include preparing, printing, and mailing the Class and Collective Notice
                  Packet to all Class Members; conducting a National Change of Address search to
                  update Class Member addresses before mailing the Class and Collective Notice

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              Packets; re-mailing Class and Collective Notice Packets that are returned to the
              Class Member’s new address; sending reminders to Class Members; setting up a
              toll-free telephone number to receive calls from Class Members; receiving and
              reviewing for validity completed Requests for Exclusion; providing the Parties with
              weekly status reports about the delivery of Class and Collective Notice Packets and
              receipt of completed Requests for Exclusion; calculating Settlement Shares; issuing
              the checks to effectuate the payments due under the Settlement; issuing the tax
              reports required under this Settlement; and otherwise administering the Settlement
              pursuant to this Agreement. The Settlement Administrator will have the authority
              to resolve all disputes concerning the calculation of a Participating Class Member’s
              or Opt-In Plaintiff’s Settlement Share, subject to the dollar limitations and
              calculations set forth in this Agreement. The Settlement Administration Expenses,
              including the cost of printing and mailing the Class and Collective Notice Packet,
              will be paid out of the Gross Settlement Amount.

              The Settlement Administrator shall obtain an Employer Identification Number for
              the Settlement and shall use that Employer Identification Number in calculating
              payroll withholdings for taxes and shall transmit the required employers’ and
              employees’ share of the withholdings to the appropriate state and federal tax
              authorities. The Settlement Administrator shall establish a settlement fund that
              meets the requirements of a Qualified Settlement Fund (“QSF”) under US Treasury
              Regulation section 468B-1.

         F.   Procedure for Approving Settlement.

              1.     Motion for Preliminary Approval of Settlement by the Court.

                     a.      After Execution of this Settlement Agreement, Plaintiff will file a
                             Preliminary Approval Motion with the Court for an order giving
                             Preliminary Approval of the Settlement, setting a date for the Final
                             Approval Hearing, and approving the Class and Collective Notice
                             (the “Motion for Preliminary Approval”). Any disagreement
                             between the Parties concerning the Class and Collective Notice, the
                             proposed orders, or other documents necessary to implement the
                             Settlement will be referred to the mediator for resolution.

                     b.      At the hearing on the Motion for Preliminary Approval, the Parties
                             will jointly appear, support the granting of the motion, and submit a
                             mutually agreed upon Order Granting Preliminary Approval of the
                             Settlement.

                     c.      Should the Court decline to preliminarily approve material aspects
                             of the Settlement (including but not limited to the scope of release
                             to be granted by Participating Class Members and Opt-In Plaintiffs
                             or the binding effect of the Settlement on Participating Class
                             Members or Opt-In Plaintiffs), the Parties shall work together in
                             good faith to address any concerns raised by the Court and propose
                             a revised Settlement for the Court’s approval.


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              2.    Notice to Class Members and FLSA Collective Members. After the
                    Court enters an Order Granting Preliminary Approval of the Settlement,
                    every Class Member will be sent the Class and Collective Notice Packet
                    (which will include the Class and Collective Notice and FLSA Collective
                    Consent Form completed to reflect the Order Granting Preliminary
                    Approval of the Settlement and showing the estimated Settlement Share for
                    Class Members and FLSA Collective Members) as follows:

                    a.     No later than 21 days after the Court enters an Order Granting
                           Preliminary Approval of the Settlement, Defendants will provide to
                           the Settlement Administrator an electronic database containing each
                           Class Member’s Class and Collective Data. If any or all of the Class
                           and Collective Data is unavailable to Defendants, Defendants will
                           so inform Class Counsel and the Parties will make their best efforts
                           to reconstruct or otherwise agree upon the Class and Collective Data
                           prior to when it must be submitted to the Settlement Administrator.
                           This information will otherwise remain confidential and will not be
                           disclosed to anyone, except as required to applicable taxing
                           authorities, in order to carry out the reasonable efforts described in
                           Section III.F.2.c., or pursuant to Defendants’ express written
                           authorization or by order of the Court. All Class and Collective Data
                           will be used for settlement notification and settlement
                           administration and shall not be used for any other purpose by Class
                           Counsel.

                    b.     Using best efforts to mail it as soon as possible, and in no event later
                           than 14 days after receiving the Class and Collective Data, the
                           Settlement Administrator will mail the Class and Collective Notice
                           Packets to all Class Members via first-class regular U.S. Mail using
                           the mailing address information provided by Defendants, unless
                           modified by any updated address information that the Settlement
                           Administrator obtains in the course of administration of the
                           Settlement.

                    c.     If a Class and Collective Notice Packet is returned because of an
                           incorrect address, the Settlement Administrator will promptly, and
                           not longer than 10 days from receipt of the returned packet, search
                           for a more current address for the Class Member and re-mail the
                           Class and Collective Notice Packet to the Class Member. The
                           Settlement Administrator will use the Class and Collective Data and
                           otherwise work with Defendants to find a more current address. The
                           Settlement Administrator will be responsible for taking reasonable
                           steps, consistent with its agreed-upon job parameters, Court orders,
                           and fee, as agreed to with Class Counsel and according to the
                           following deadlines, to trace the mailing address of any Class
                           Member for whom a Class and Collective Notice Packet is returned
                           by the U.S. Postal Service as undeliverable. These reasonable steps
                           shall include, at a minimum, the tracking of all undelivered mail;

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                           performing address searches for all mail returned without a
                           forwarding address using available email addresses, phone numbers,
                           social security numbers, credit reports, LinkedIn, and Facebook; and
                           promptly re-mailing to Class Members for whom new addresses are
                           found. If the Class and Collective Notice Packet is re-mailed, the
                           Settlement Administrator will note for its own records and notify
                           Class Counsel and Defendants’ Counsel of the date of each such re-
                           mailing as part of a weekly status report provided to the Parties.

                    d.     As part of its weekly status report, the Settlement Administrator will
                           inform Class Counsel and Defendants’ Counsel of the number of
                           Requests for Exclusion it receives (including the number of valid
                           and deficient Requests) and objections received.

                    e.     Not later than 10 days before the date by which the Plaintiff files the
                           motion for final approval of the Settlement, the Settlement
                           Administrator will provide the Parties for filing with the Court a
                           declaration of due diligence setting forth its compliance with its
                           obligations under this Agreement and detailing the Requests for
                           Exclusion it received (including the numbers of valid and deficient
                           Requests) and objections received. Prior to the Final Approval
                           Hearing, the Settlement Administrator will supplement its
                           declaration of due diligence if any material changes occur from the
                           date of the filing of its prior declaration.

              3.    Submission of FLSA Collective Consent Forms. FLSA Collective
                    Members will have 60 days from the date of mailing of the Class and
                    Collective Notice Packet to submit their FLSA Collective Consent Forms.
                    If any FLSA Collective Member submits a defective FLSA Collective
                    Consent Form postmarked before the submission deadline, the Settlement
                    Administrator shall send a cure letter to the FLSA Collective Member
                    advising him or her that the consent is defective and must be cured to
                    become valid. The Settlement Administrator must mail the cure letter
                    within 5 days of receiving a defective FLSA Collective Consent Form, and
                    the FLSA Collective Member shall be given 15 days to cure the defect or
                    submit a revised consent. An FLSA Collective Member’s failure to cure a
                    defective FLSA Collective Consent Form will have no impact on his or her
                    right to receive a Settlement Share as a Participating Class Member.

              4.    Objections to Settlement; Disputes as to Workweeks allocated to Class
                    Members; Requests for Exclusion. Participating Class Members may
                    submit objections to the Settlement, including objections to Class Counsel
                    Fees Payment, Class Counsel Litigation Expenses Payment and the Class
                    Representative Service Payment. Participating Class Members may also
                    submit disputes as to workweeks allocated to them and Requests for
                    Exclusion pursuant to the following procedures:




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                    a.    Objections to Settlement. The Class and Collective Notice will
                          provide that Participating Class Members who wish to object to the
                          Settlement or any aspect thereof, including Class Counsel Fees
                          Payment, Class Counsel Litigation Expenses Payment, or the Class
                          Representative Service Payments, may do so, either in writing or
                          orally at the final approval hearing. Objections in writing must be
                          submitted to the Settlement Administrator with copies to the Parties’
                          Counsel and postmarked no later than 60 days after the Settlement
                          Administrator mails the Class and Collective Notice Packets.
                          Objections must set forth the factual and legal grounds for the
                          objection and comply with the instructions in the Class and
                          Collective Notice. Class Members who make a timely objection
                          shall be entitled, but are not required, to be heard at the final
                          approval hearing (whether individually or through separate counsel)
                          to object to the Settlement or any aspect thereof, including Class
                          Counsel Fees Payment, Class Counsel Litigation Expenses
                          Payment, or the Class Representative Service Payments. A
                          Participating Class Member who does not submit an objection in the
                          manner and by the deadline specified above will be deemed to have
                          waived any objection and will be foreclosed from making any
                          objection (whether by appeal or otherwise) to the Settlement or any
                          aspect thereof, including Class Counsel Fees Payment, Class
                          Counsel Litigation Expenses Payment, or the Class Representative
                          Service Payments, unless otherwise excused by the Court upon a
                          showing of good cause. Class members who have filed a valid
                          Request for Exclusion as provided in Section III.4.c below shall
                          have no ability to comment on or object to the Settlement.

                    b.    Disputes as to Workweeks. Each Class Member or FLSA
                          Collective Member shall also have 60 days from the date of mailing
                          the Class and Collective Notice Packet in which to dispute the
                          number of workweeks the Class and Collective Notice allocates to
                          them during the Class Period and FLSA Collective Period. Any
                          dispute as to this allocation shall be resolved by the Settlement
                          Administrator. Any such dispute shall be in writing and sent to the
                          Settlement Administrator in accordance with the Class and
                          Collective Notice.

                    c.    Requests for Exclusion. The Class and Collective Notice also will
                          provide that Class Members who wish to exclude themselves from
                          the Settlement must mail to the Settlement Administrator a signed
                          Request for Exclusion. Such written statement must be postmarked
                          not later than 60 days after the Settlement Administrator mails the
                          Class and Collective Notice Packets. To be valid, a Request for
                          Exclusion must be timely mailed, must be received by the
                          Settlement Administrator and must comply with the instructions in
                          the Class and Collective Notice. The written request for exclusion
                          must be signed individually by the Rule 23 Settlement Class

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                           Member. No opt-out request may be made on behalf of a group. If
                           a question is raised about the authenticity of a signed Request for
                           Exclusion, the Settlement Administrator will have the right to
                           demand additional proof of the Class Member’s identity. Class
                           Members who submit valid Requests for Exclusion will not
                           participate in or be bound by the Settlement and the Judgment.
                           Defendants will remain free to contest any claim brought by the
                           Class Member that would have been barred by this Agreement, and
                           nothing in this Agreement will constitute or be construed as a waiver
                           of any defense Defendants have or could assert against such a claim.
                           Persons who submit a valid Request for Exclusion shall not be
                           permitted to file objections to the Settlement or appear at the Final
                           Approval Hearing to voice any objections to the Settlement.

                           A Class Member who does not submit a valid Request for Exclusion
                           in the manner provided for in this Section III.4.c. will automatically
                           become a Participating Class Member. All Participating Class
                           Members will receive a Settlement Share without the need to file
                           claim forms and will be bound by all terms and conditions of the
                           Settlement, including without limitation the release of the Released
                           Class Claims regardless of whether the Participating Class Members
                           have also submitted objections to the Settlement.

                    d.     Report. Not later than 10 days after the deadline for submission of
                           Requests for Exclusion, the Settlement Administrator will provide
                           the Parties with a complete and accurate list of all Participating Class
                           Members, all Opt-In Plaintiffs and all Non-Participating Class
                           Members.

              5.    Right of Defendants to Reject Settlement. If more than five percent (5%)
                    of the Class Members who have not separately settled their Released Class
                    Claims with Defendants timely submit valid Requests for Exclusion,
                    Defendants will have the right, but not the obligation, to void the Settlement
                    and the Parties will have no further obligations under the Settlement,
                    including any obligation by Defendants to pay the Gross Settlement
                    Amount, or any amounts that otherwise would have been owed under this
                    Agreement. The Settlement Administration Expenses incurred as of the date
                    that Defendants exercise the right to void the Settlement will be paid in
                    equal shares by the Parties. Defendants will notify Class Counsel and the
                    Court whether they are exercising this right to void not later than 7 days
                    after the Settlement Administrator notifies the Parties of the number of valid
                    Requests for Exclusion it has received.

              6.    No Solicitation. The Parties and their counsel represent that neither the
                    Parties nor their respective counsel have or will solicit or otherwise
                    encourage directly or indirectly any Class Member to object to the
                    Settlement, appeal from the Judgment, or request exclusion from the
                    Settlement. If a Class Member submits a Request for Exclusion, Class

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                    Counsel will not solicit, represent, or otherwise encourage that Non-
                    Participating Class Member to participate in separate litigation against
                    Defendants.

              7.    Additional Briefing and Final Approval.

                    a.     Plaintiff will file with the Court an unopposed Motion for Final
                           Approval of the Settlement and payment of the Settlement
                           Administrator Expenses. Plaintiff shall request the Court schedule
                           the Final Approval Hearing no earlier than thirty (30) days after the
                           deadline to object.

                    b.     Class Counsel will file with the Court their motion for the Class
                           Counsel Fees Payment, Class Counsel Litigation Expenses Payment
                           and Class Representative Service Payment no later than the date the
                           Plaintiff files the Motion for Final Approval, and the application will
                           be scheduled to be heard by the Court at the Final Approval Hearing.

                    c.     If the Court does not grant final approval of the Settlement or grants
                           final approval conditioned on any material change to the Settlement
                           (including, but not limited to, the scope of release to be granted by
                           Participating Class Members), then the Parties shall work together
                           in good faith to address any concerns raised by the Court and
                           propose a revised Settlement for the Court’s approval. However, an
                           award by the Court of a lesser amount than that sought by Plaintiff
                           and Class Counsel for the Class Representative Service Payment,
                           the Class Counsel Fees Payment, or the Class Counsel Litigation
                           Expenses Payment, will not constitute a material modification to the
                           Settlement within the meaning of this paragraph.

                    d.     Upon final approval of the Settlement by the Court and after entry
                           of the Judgment, the Court will have continuing jurisdiction over the
                           Action and the Settlement solely for purposes of (i) enforcing this
                           Agreement, (ii) addressing settlement administration matters, and
                           (iii) addressing such post-Judgment matters as may be appropriate
                           under court rules or applicable law.

              8.    Waiver of Right to Appeal. Provided that the Judgment is consistent with
                    the terms and conditions of this Agreement, Plaintiff and Participating Class
                    Members who did not timely submit an objection to the Settlement,
                    Defendants, and their respective counsel hereby waive any and all rights to
                    appeal from the Judgment, including all rights to any post-judgment
                    proceeding and appellate proceeding, such as, but not limited to, a motion
                    to vacate judgment, a motion for new trial, and any extraordinary writ. The
                    Judgment therefore will become nonappealable at the time it is entered. The
                    waiver of appeal does not include any waiver of the right to oppose any
                    appeal, appellate proceedings or post-judgment proceedings. If an appeal
                    is taken from the Judgment, the time for consummation of the Settlement


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                    (including making payments under the Settlement) will be suspended until
                    such time as the appeal is finally resolved and the Judgment becomes Final.

              9.    Vacating, Reversal, or Material Modification of Judgment on Appeal
                    or Review. If, after a notice of appeal, a petition for review, or a petition
                    for certiorari, or any other motion, petition, or application, the reviewing
                    Court vacates, reverses, or modifies the Judgment such that there is a
                    material modification to the Settlement (including, but not limited to, the
                    scope of release to be granted by Participating Class Members or Opt-In
                    Plaintiffs), and that Court’s decision is not completely reversed and the
                    Judgment is not fully affirmed on review by a higher Court, then the Parties
                    shall work together in good faith to address any concerns raised by the
                    reviewing Court and propose a revised Settlement for the approval of the
                    Court not later than fourteen days after the reviewing Court’s decision
                    vacating, reversing, or materially modifying the Judgment becomes Final.
                    A vacation, reversal, or modification of the Court’s award of the Class
                    Representative Service Payment or the Class Counsel Fees Payment or
                    Class Counsel Litigation Expenses Payment will not constitute a vacation,
                    reversal, or material modification of the Judgment within the meaning of
                    this paragraph, provided that Defendants’ obligation to make payments
                    under this Settlement will remain limited by the Gross Settlement Amount.

              10.   Timing of Provision of Settlement Shares and Other Payments.
                    Defendants will fund the Gross Settlement Amount by depositing the
                    money with the Settlement Administrator. Defendants shall fund the Gross
                    Settlement Amount and the amount necessary to pay Defendants’ share of
                    payroll taxes within 15 business days of the Effective Date. Within 15 days
                    after Defendants fund the Gross Settlement Amount, the Settlement
                    Administrator will pay the Settlement Shares to Participating Class
                    Members and Opt-In Plaintiffs; the Class Representative Service Payment
                    to Plaintiff; the Class Counsel Fees Payment and the Class Counsel
                    Litigation Expenses Payment to Class Counsel; and the Settlement
                    Administration Expenses to the Settlement Administrator.

              11.   Uncashed Settlement Share Checks. Participating Class Members and
                    Opt-In Plaintiffs must cash their Settlement Share checks within 180 days
                    after they are mailed. If a check is returned to the Settlement Administrator
                    within 120 days after the last mailing, the Settlement Administrator will
                    make all reasonable efforts to re-mail it to the affected Participating Class
                    Member and Opt-In Plaintiff at his or her correct address by use of available
                    email addresses, phone numbers, social security numbers, credit reports,
                    LinkedIn and Facebook. If a Settlement Share check is not cashed within
                    120 days after its last mailing, the Settlement Administrator will also send
                    the affected Participating Class Member or Opt-In Plaintiff a notice
                    informing him or her that unless the check is cashed in the next 60 days, it
                    will expire and become non-negotiable, and offer to replace the check if it
                    was lost or misplaced but not cashed. If the check remains uncashed by the


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                    expiration of the 60 day period after this notice, the funds from such
                    uncashed checks will be distributed in accordance with III.F.12.

              12.   Redistribution and Cy Pres Distribution of Uncashed Settlement Share
                    Checks. If the uncashed Settlement Share checks equal or exceed $50,000,
                    the Settlement Administrator shall make a second distribution of the
                    uncashed funds on a pro rata basis to the Participating Class Members and
                    Opt-In Plaintiffs who previously cashed their Settlement Share checks. In
                    the event of a redistribution of uncashed check funds to Participating Class
                    Members and Opt-In Plaintiffs who cashed their Settlement Share check,
                    the additional settlement administration costs related to the redistribution
                    will be deducted from the total amount of uncashed checks prior to the
                    redistribution. If a check to a Participating Class Member or Opt-In Plaintiff
                    is returned to the Settlement Administrator as undeliverable during the
                    second distribution, or there are uncashed check funds remaining from the
                    second redistribution, then the amount will revert to cy pres.

              13.   If the value of the uncashed Settlement Share checks is less than this
                    $50,000 threshold, the undistributed amount will be distributed cy pres
                    equally between Pierce County Catholic Community Services and the Legal
                    Foundation of Washington. The Participating Class Members and Opt-In
                    Plaintiffs will remain bound by the Settlement.

              14.   Final Report by Settlement Administrator to Court. Within 10 days
                    after final disbursement of all funds from the Gross Settlement Amount, the
                    Settlement Administrator will serve on the Parties and file with the Court a
                    declaration proving a final report on the disbursements of all funds from the
                    Gross Settlement Amount.

         G.   Release of Claims.

              1.    Released Class Claims by Participating Class Members. As of the
                    Effective Date, Plaintiff and Participating Class Members shall fully and
                    finally release and discharge Defendants and the Released Parties from any
                    and all state or local claims, obligations, demands, rights, actions, causes of
                    action and liabilities, whether known or unknown, that were alleged or that
                    reasonably could have been alleged based on the facts alleged in the
                    Complaint, including claims for unpaid overtime wages, unpaid wages,
                    minimum wage violations, meal period violations, rest period violations,
                    failure to pay wages at termination, restitution, penalties, interest, liquidated
                    damages, double damages, treble damages, exemplary damages, attorneys’
                    fees, costs, disbursements and expenses, including without limitation claims
                    under RCW 19.52.020, RCW 49.12.010, RCW 49.12.020, RCW 49.12.050,
                    RCW 49.12.150, RCW 49.12.170, RCW 49.46.020, RCW 49.46.030, RCW
                    49.46.090, RCW 49.46.130, RCW 49.48.010, RCW 49.48.030, RCW
                    49.52.050, RCW 49.52.070, WAC 296-126-023, WAC 296-126-092, WAC
                    296-128-010, WAC 296-126-040 and claims for violation of the
                    Washington Consumer Protection Act, RCW 19.86.

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              2.     Release of Claims by Opt-In Plaintiffs. As of the Effective Date, Opt-in
                     Plaintiffs shall fully and finally release and discharge Defendants and the
                     Released Parties from all FLSA claims, whether known or unknown, that
                     were alleged or that reasonably could have been alleged based on the facts
                     alleged in the Complaint.

              3.     Plaintiff. As of the Effective date, in addition to the releases set forth in
                     Sections III.G.1 and III.G.2 above, Plaintiff hereby fully and finally releases
                     Defendants and the other Released Parties from any and all claims, known
                     or unknown, asserted or that might have been asserted, that she has or might
                     have against Defendants and Released Parties (“Plaintiff’s Released
                     Claims”). Plaintiff’s Released Claims include without limitation breaches
                     of contract, whether written, oral or implied; violations of any public policy;
                     tort claims, including but not limited to intentional infliction of emotional
                     distress and negligent infliction of emotional distress, defamation,
                     misrepresentation, and fraud; retaliation claims; common law claims; any
                     other claims for damages, costs, fees, or other expenses, including
                     attorneys’ fees; and any violations of the following statutes, laws, and
                     regulations: Title VII of the Civil Rights Act of 1964, as amended; the Civil
                     Rights Act of 1991; the Americans with Disabilities Act of 1990, as
                     amended; the Age Discrimination in Employment Act of 1967, as amended;
                     the Older Workers Benefit Protection Act; the Family and Medical Leave
                     Act of 1993, as amended; the Fair Labor Standards Act; the Washington
                     Revised Code, the Washington Administrative Code, and any other federal,
                     state, or local civil employment law, statute, regulation, or ordinance
                     capable of being released by Plaintiff, excluding any claims that cannot be
                     released as a matter of law.

              4.     Class Counsel. As of the date the Judgment becomes Final, and except as
                     otherwise provided by this Agreement and the Judgment, Class Counsel and
                     any counsel associated with Class Counsel waive any claim to costs and
                     attorneys’ fees and expenses against Defendants arising from or related to
                     the Action.

         H.   No Effect on Other Benefits. The Settlement Shares will not result in any
              additional benefit payments (such as 401(k) or bonus) beyond those provided by
              this Agreement to Plaintiff or Participating Class Members, and Plaintiff and
              Participating Class Members will be deemed to have waived all such claims,
              whether known or unknown by them, as part of their release of claims under this
              Agreement.

         I.   Limitation on Public Statements About Settlement. Plaintiff and Class Counsel
              represent that they have not and will not issue any press, publications, or other
              media releases about the Settlement (including, but not necessarily limited to
              advertising or marketing materials or on social media) or have any communication
              with the press or media or anyone else regarding the Settlement. This provision
              shall not prohibit Class Counsel from communicating with Class Members after
              preliminary approval is granted for the sole purpose of administering the

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              Settlement. This provision also does not limit Class Counsel from complying with
              ethical obligations or from posting court-filed documents on their website for
              viewing by Class Members. Plaintiff and Class Counsel agree not to respond to
              any media inquiries except to refer reporters to the papers filed with the court.
              Defendants may disclose information regarding the Settlement under their
              contractual and legal obligations.

         J.   Miscellaneous Terms.

              1.     No Admission of Liability or Class Certification for Other Purposes.

                     a.     Defendants and the Released Parties deny that they have engaged in
                            any unlawful activity, have failed to comply with the law in any
                            respect, have any liability to anyone under the claims asserted in the
                            Action, or that but for the Settlement a class or collective should be
                            certified in the Action. This Agreement is entered into solely for the
                            purpose of compromising highly disputed claims. Nothing in this
                            Agreement is intended or will be construed as an admission of
                            liability or wrongdoing by Defendants or the Released Parties, or an
                            admission by Plaintiff that any of the claims were non-meritorious
                            or any defense asserted by Defendants was meritorious. This
                            Settlement and the fact that Plaintiff and Defendants were willing to
                            settle the Action will have no bearing on, and will not be admissible
                            in connection with, any litigation (other than solely in connection
                            with effectuating the Settlement pursuant to this Agreement).

                     b.     Whether or not the Judgment becomes Final, neither the Settlement,
                            this Agreement, any document, statement, proceeding or conduct
                            related to the Settlement or the Agreement, nor any reports or
                            accounting of those matters, will be (i) construed as, offered or
                            admitted in evidence as, received as, or deemed to be evidence for
                            any purpose adverse to Plaintiff or Defendants or any of the
                            Released Parties, including, but not limited to, evidence of a
                            presumption, concession, indication or admission by any of the
                            Released Parties of any liability, fault, wrongdoing, omission,
                            concession or damage; or (ii) disclosed, referred to or offered in
                            evidence against any of the Released Parties, in any further
                            proceeding in the Action, or any other civil, criminal or
                            administrative action or proceeding except for purposes of
                            effectuating the Settlement pursuant to this Agreement.

                     c.     This section and all other provisions of this Agreement
                            notwithstanding, any and all provisions of this Agreement may be
                            admitted in evidence and otherwise used in any and all proceedings
                            for the limited purpose of enforcing any or all terms of this
                            Agreement or defending any claims released or barred by this
                            Agreement.



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              2.    Integrated Agreement. After this Agreement is signed and delivered by
                    all Parties and their counsel, this Agreement and its exhibits will constitute
                    the entire agreement between the Parties relating to the Settlement, and it
                    will then be deemed that no oral representations, warranties, covenants, or
                    inducements have been made to any Party concerning this Agreement or its
                    exhibits other than the representations, warranties, covenants, and
                    inducements expressly stated in this Agreement and its exhibits.

              3.    Attorney Authorization. Class Counsel and Defendants’ Counsel warrant
                    and represent that they are authorized by Plaintiff and Defendants,
                    respectively, to take all appropriate action required or permitted to be taken
                    by such Parties pursuant to this Agreement to effectuate its terms, and to
                    execute any other documents required to effectuate the terms of this
                    Agreement including any amendments to this Agreement. The Parties and
                    their counsel will cooperate with each other and use their best efforts to
                    effect the implementation of the Settlement. In the event the Parties are
                    unable to reach agreement on the form or content of any document needed
                    to implement the Agreement, or on any supplemental provisions that may
                    become necessary to effectuate the terms of this Agreement, the Parties will
                    seek the assistance of the mediator for resolution.

              4.    No Prior Assignments: The Parties represent, covenant and warrant that
                    they have not directly or indirectly assigned, transferred, encumbered or
                    purported to assign, transfer, or encumber to any person or entity any
                    portion of any liability, claim, demand, action, cause of action, or right
                    released and discharged in this Settlement.

              5.    No Tax Advice: Neither Class Counsel nor Defendants’ Counsel intend
                    anything contained in this Settlement to constitute advice regarding taxes or
                    taxability, nor shall anything in this Settlement be relied upon as such within
                    the meaning of United States Treasury Department Circular 230 (31 CFR
                    Part 10, as amended) or otherwise.

              6.    Modification of Agreement. Except as set forth in III.J.3 above this
                    Agreement, and any and all parts of it, may be amended, modified, changed,
                    or waived only by an express written instrument signed by all Parties or
                    their representatives.

              7.    Agreement Binding on Successors. This Agreement will be binding upon,
                    and inure to the benefit of, the successors of each of the Parties.

              8.    Applicable Law. All terms and conditions of this Agreement and its
                    exhibits will be governed by and interpreted according to the laws of the
                    State of Washington.

              9.    Cooperation in Drafting. The Parties have cooperated in the drafting and
                    preparation of this Agreement. This Agreement will not be construed



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                    against any Party on the basis that the Party was the drafter or participated
                    in the drafting.

              10.   Fair Settlement. The Parties and their respective counsel believe and
                    warrant that this Agreement reflects a fair, reasonable, and adequate
                    settlement of the Action and have arrived at this Agreement through arms-
                    length negotiations, taking into account all relevant factors, current and
                    potential.

              11.   Use and Return of Documents and Data. All originals, copies, and
                    summaries of documents and data provided to Class Counsel by Defendants
                    in connection with the mediation or other settlement negotiations in this
                    matter may be used only with respect to this Settlement, and no other
                    purpose, and may not be used in any way that violates any existing
                    contractual agreement, statute, or rule. Within 30 days after the Judgment
                    becomes Final, Class Counsel will return or destroy and confirm in writing
                    to Defendants the destruction of all such documents and data.

              12.   Government Actions Affecting Settlement. If any administrative
                    proceeding or action is commenced by any federal, state or local
                    governmental authority in a parens patriae function (and not in its capacity
                    as a Non-Participating Class Member) asserting claims within the scope of
                    the Action, the Plaintiff and Class Counsel shall intervene in that action at
                    the request of Defendants. Plaintiff and Class Counsel shall intervene to
                    fully support Defendants by asserting that the governmental action is within
                    the scope of this Settlement, the Complaint, and the Judgment entered
                    herein. Additionally, in the event any action is commenced by a
                    governmental authority as stated in this paragraph, Defendants shall have
                    the option, in their sole discretion, to immediately suspend the distribution
                    of Settlement Shares to Participating Class Members and Opt-In Plaintiffs
                    of that jurisdiction pending the outcome of the suit brought by the
                    governmental authority.

              13.   Headings. The descriptive heading of any section or paragraph of this
                    Agreement is inserted for convenience of reference only and does not
                    constitute a part of this Agreement.

              14.   Notice. All notices, demands or other communications given under this
                    Agreement will be in writing and deemed to have been duly given as of the
                    third business day after mailing by United States mail, addressed as follows:

                    To Plaintiff and the Class:

                    Beth E. Terrell, WSBA #26759
                    Toby J. Marshall, WSBA #32723
                    TERRELL MARSHALL LAW GROUP PLLC
                    936 North 34th Street, Suite 300
                    Seattle, WA 98103-8869


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                    Telephone:      (206) 816-6603
                    Fax:            (206) 319-5450
                    Email:          bterrell@terrellmarshall.com
                                    tmarshall@terrellmarshall.com

                    Carolyn H. Cottrell, CA Bar # 166977
                    Ori Edelstein, CA Bar # 268145
                    Pro Hac Vice
                    SCHNEIDER WALLACE COTTRELL KONECKY LLP
                    2000 Powell Street, Suite 1400
                    Emeryville, CA 94608
                    Telephone: (415) 421-7100
                    Fax:           (415) 421-7105
                    Email:         ccottrell@schneiderwallace.com
                                   oedelstein@schneiderwallace.com

                    William M. Hogg, TX Bar # 24087733
                    Pro Hac Vice
                    SCHNEIDER WALLACE COTTRELL KONECKY LLP
                    3700 Buffalo Speedway, Suite 960
                    Houston, TX 77098
                    Telephone: (713) 338-2560
                    Fax:          (866) 505-8036
                    Email:        whogg@schneiderwallace.com

                    To Defendant:

                    Donald L. Samuels, WSBA #56214
                    POLSINELLI PC
                    1401 Lawrence Street, Suite 2300
                    Denver, CO 80202
                    Telephone: (303) 572-9300
                    Facsimile:   (303)572-7883
                    E-mail: dsamuels@polsinelli.com

                    Jessica M. Andrade, WSBA #39297
                    POLSINELLI
                    1000 2nd Avenue, Suite 3500
                    Seattle, WA 98104
                    Telephone: (206) 393-5400
                    Facsimile:    (206) 393-5401
                    E-mail: Jessica.andrade@polsinelli.com

              15.   Execution in Counterparts. This Agreement may be executed in one or
                    more counterparts by facsimile, electronically or email which for purposes
                    of this Agreement shall be accepted as an original. All executed
                    counterparts and each of them will be deemed to be one and the same
                    instrument provided that counsel for the Parties will exchange between

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                       themselves signed counterparts. Any executed counterpart will be
                       admissible in evidence to prove the existence and contents of this
                       Agreement.

                16.    Stay of Litigation. The Parties agree to hold in abeyance all proceedings
                       in the Action, except such proceedings necessary to implement and
                       complete the Agreement.

                17.    Continuing Jurisdiction. The Court shall retain continuing jurisdiction
                       over this Action and all related matters, including preliminary approval of
                       the Agreement, final approval of the agreement, and any post-judgment
                       issues.

IV.      EXECUTION BY PARTIES AND COUNSEL

         The Parties and their counsel hereby execute this Agreement.


Dated: _________, 2021                Hana Etcheverry


                                          ____________________________________________


Dated: _________, 2021                Franciscan Health System d/b/a CHI Franciscan Health


                                      By:____________________________________________


Dated: _________, 2021                Franciscan Medical Group


                                      By:____________________________________________



Dated: _________, 2021                Franciscan Health Ventures


                                      By:____________________________________________


Dated: _________, 2021                Harrison Medical Center


                                      By:____________________________________________


Dated: _________, 2021                Harrison Medical Center Foundation


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                                By:____________________________________________




Dated: ____________, 2021          TERRELL MARSHALL LAW GROUP PLLC



                                   By: _________________________________________
                                                      Beth E. Terrell
                                                   Attorneys for Plaintiff


Dated: ___________, 2021           SCHNEIDER WALLACE COTTRELL KONECKY
                                   LLP


                                   By: _________________________________________
                                                    Carolyn H. Cottrell
                                                   Attorneys for Plaintiff


Dated: _________, 2021             POLSINELLI LLP



                                   By: _________________________________________
                                                    Donald L. Samuels
                                                 Attorneys for Defendants




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                     EXHIBIT A
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             NOTICE OF CLASS AND COLLECTIVE ACTION SETTLEMENT

                          UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WASHINGTON

     Hana Etcheverry v. Franciscan Health System d/b/a CHI Franciscan Health, Franciscan
          Medical Group, Franciscan Health Ventures, Harrison Medical Center, and
                   Harrison Medical Center Foundation (the “Defendants”)

                               Case No. 3:19-cv-05261-RJB-MAT

                   A court authorized this notice. This is not a solicitation.
                 This is not a lawsuit against you and you are not being sued.
             However, your legal rights are affected by whether you act or don’t act.

You may be entitled to money from a class action settlement if you are a current or former
hourly, non-exempt employee employed by Defendants in Washington in one or more of
the job classifications listed below and subjected to an automated 30-minute meal period
deduction at any time from April 9, 2015 to ________ ___, 2021.

The Court has granted preliminary approval of a proposed settlement (“Settlement”) of the
above-captioned action (“Class and Collective Action”). Because your rights may be affected
by this Settlement, it is important that you read this Notice of Class and Collective Action
Settlement (“Notice”) carefully.

The purpose of this Notice is to provide a brief description of the claims alleged in the Class and
Collective Action, the key terms of the Settlement, and your rights and options with respect to
the Settlement.

The Court has not determined that Defendants violated the law. The two sides disagree on
whether Plaintiff or Defendants would have prevailed if the case had gone to trial. Defendants
deny that they violated any laws or that they have harmed their employees in any way.

Eligibility requirements for receiving payments are described below. Payments will only be issued
if the Court grants final approval of the Settlement.

                        WHAT INFORMATION IS IN THIS NOTICE

1.   Why have I received this Notice?
2.   What is this Class and Collective Action about?
3.   What is a Class Action and what is a Collective Action?
4.   Am I a Class Member?
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6.   What does the Settlement provide?
7.   How much money will I get if I participate in the Settlement?
8.   How do I get my Settlement Share?
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      9. Who are the attorneys representing the Parties?
      10. What are my options?
      11. How do I opt out or exclude myself from the Class Action Settlement?
      12. How do I object to the Settlement?
      13. How does this Settlement affect my rights?
      14. How will the attorneys for the Class and FLSA Collective be paid?
      15. When and where will the Court decide whether to approve the Settlement?
      16. How can I get more information about the Settlement?

1.     Why have I received this Notice?

      Defendants’ records indicate that you were employed in one of the positions listed in Section 4
      below at some time from April 9, 2015 to __________ ___, 2021, making you a Class Member
      and potentially a FLSA Collective Member depending upon your dates of employment.

      The parties to this Class and Collective action have entered into a Settlement to avoid the cost and
      risk of further litigation. Defendants deny all the legal claims in the case. The Plaintiff and her
      attorneys think the Settlement is in the best interest of the Class and Collective Members. The
      Court has preliminarily approved the Settlement. The Court must also grant final approval for the
      Settlement to be valid. If the Court approves the proposed Settlement, your legal rights may be
      affected.

 2.      What is this Class and Collective Action about?

      This Class and Collective Action was commenced by Plaintiff Hana Etcheverry on April 9, 2019
      in the United States District Court, for the Western District of Washington, Case No. 3:19-cv-
      05621-RJB-MAT. Plaintiff brought this lawsuit against Defendants seeking damages, restitution,
      penalties, interest, costs and attorney’s fees and other relief based on the following alleged causes
      of action: (1) failure to pay overtime in violation of the Fair Labor Standards Act (“FLSA”), 29
      U.S.C. § 207; (2) failure to pay overtime in violation of Revised Code of Washington (“RCW”)
      49.46.130; (3) failure to provide required meal breaks; (4) failure to provide required rest breaks;
      (5) failure to pay minimum wages; (6) failure to pay all wages owed at termination; (7) willful
      refusal to page wages; and (8) violation of the Washington Consumer Protection Act, RCW 19.86.
      Plaintiff seeks a monetary recovery on behalf of the Class and the FLSA Collective for the alleged
      violations, along with interest, costs, and fees.

      The Court has not made any determination as to whether the claims advanced by Plaintiff have
      any merit. The Court has not determined whether any laws have been violated, nor has it decided
      in favor of Plaintiff or Defendants. Defendants expressly deny that they did anything wrong or that
      they violated the law and further deny any liability whatsoever to Plaintiff or to the Class or FLSA
      Collective. Both sides agreed to resolve the lawsuit with no decision or admission of who is right or
      wrong. By agreeing to resolve the lawsuit, all parties avoid the risks and cost of a trial.



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3. What is a Class Action and what is a Collective Action?

    The Settlement that you are receiving notice about involves a class action and also a collective
    action. The following claims in the lawsuit are class action claims: (1) failure to pay overtime
    in violation of RCW 49.46.130; (2) failure to provide required meal breaks; (3) failure to provide
    required rest breaks; (4) failure to pay minimum wages; (5) failure to pay all wages owed at
    termination; (6) willful refusal to page wages; and (7) violation of the Washington Consumer
    Protection Act, RCW 19.86. Additional claims involving the federal FLSA for unpaid wages
    are what is referred to as a “collective action.”

    A “class action” and a “collective action” have different requirements for how you participate in
    or exclude yourself from the Settlement.

    If you wish to participate in the Class Action Settlement, you do not have to do anything.
    You will receive money under the Class Action Settlement by doing nothing. If you want to
    be excluded from, and not bound by, the Class Action Settlement, then you must submit a Request
    for Exclusion in the manner and timeframe described in this Notice.

    If you also want to participate in the FLSA Collective Action Settlement, then you
    must opt in by submitting the FLSA Collective Consent Form provided with this
    Notice, and you must do so within the timeframe described in this Notice. Unlike with
    the Class Action Settlement, if you do not return your FLSA Collective Consent Form, then you
    will not receive money under the FLSA Collective Settlement.

    In sum, for the Class Action Settlement, you don’t have to do anything to get the money and to be
    bound by the release of class action claims. However, for the FLSA Collective Settlement, you
    must submit the FLSA Collective Consent Form to receive money from the FLSA Net Settlement
    Fund. If you don’t submit the FLSA Collective Consent Form you will not receive a Settlement
    Share from the FLSA Net Settlement Fund or be bound by the release of collective action claims.

4. Am I a Class Member?

    You are a Class Member if you are a current or former hourly, non-exempt employee employed
    by Defendants in Washington in one or more of the job classifications in the table below and were
    subjected to an automated 30-minute meal period deduction policy at any time from April 9, 2015
    through ________ ___, 2021 (the “Class Period”).

     Certified Medical Assistant      Medical Assistant                 RN-Clinic Oncology
     (“CNA”)
     CNA-Health Unit                  Medical Assistant Clinic          RN-Clinic Oncology Cert
     Coordinator
     CNA-Home Health Aide             Medical Assistant Clinic          RN-Clinic Oncology Lead-
                                      Lead                              Cert



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    CNA-HUC-Monitor Tech          Medical Assistant Float II     RN-Clinic Specialty
    Combo
    CAN-Transporter               Medical Assistant Lead         RN-Coordinator
    CAN-Transporter Diag          Medical Assistant Reg Float    RN-Enterostomal
    Imaging
    Endoscopy Tech                Medical Assistant-Ortho Cast   RN-Homecare Charge
    Endoscopy Tech I              Medical Assistant-Ortho Cast   RN-Injector
                                  Lead
    Endoscopy Tech II             Monitor Tech-HLT Unit          RN-Lead
                                  Coord LD
    Endoscopy Tech Lead           Nurse Technician-Student       RN-Navigator
    Licensed Practical Nurse      Reg Medical Assistant Clinic   RN-Patient Care Coordinator
    (“LPN”)                                                      HA
    LPN-Anesthesia                Registered Medical Assistant   RN-Patient Care Coordinator
                                                                 HART
    LPN-Anesthesia Tech Cert      Registered Nurse (“RN”)        RN-Patient Care Coordinator
                                                                 IP
    LPN-Care Coordinator          RN-Cardiac Device              RN-Patient Care Coordinator
                                                                 RR
    LPN-Case Coordinator          RN-Cert                        RN-Pre/Post Surgery
    LPN-C-Clinic                  RN-Charge                      RN-Residency
    LPN-Clinic                    RN-Charge Cert                 RN-Residency Program
    LPN-Clinic Coordinator        RN-Charge Relief               RN-Resource
    LPN-Clinic Float II           RN-Charge Relief Cert          RN-Resource Code
    LPN-Clinic Gastro             RN-Clinic                      RN-Resource Periop
    LPN-Clinic Gastro Preadmit    RN-Clinic Cardio               RN-Resource Periop Cert
    LPN-Clinic Lead               RN-Clinic Float                RN-SWAT
    LPN-Clinic Trauma             RN-Clinic Float II             RN-SWAT Cert
    LPN-Lead                      RN-Clinic Gastro               RN-Wound Care Coordinator
    LPN-Triage                    RN-Clinic Gastro Cert          RN-Wound Care Coordinator
                                                                 Cert
    Medical Assist Clinic Float   RN-Clinic Lead


5. Am I a FLSA Collective Member?


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  You are a FLSA Collective Member if you are a current or former hourly, non-exempt employee
  employed by Defendants in Washington in one or more of the job classifications listed in Section
  4 above and were subjected to an automatic time deduction policy and practice at any time from
  April 9, 2016 through ___________ ___, 2021 (the “FLSA Collective Period”).

6. What does the Settlement provide?

  The total maximum amount that Defendants will be required to pay under this Settlement is Five
  Million, Five Hundred Thousand Dollars ($5,500,000.00) (“Gross Settlement Amount”). The
  following amounts will be deducted from the Gross Settlement Amount if approved by the Court:
  The FLSA Net Settlement Fund of $______________, the Class Representative Service Payment
  of up to $10,000, the Class Counsel Fees Payment up to $1,833,333 (one-third of the Gross
  Settlement Amount), the Class Counsel Litigation Expenses Payment up to $___________, and
  the Settlement Administration Expenses estimated at $_____________. All of these payments are
  subject to Court approval. The amount remaining after making these deductions from the Gross
  Settlement Amount will be the Class Net Settlement Fund, estimated to be $_______________.


7. How much money will I get if I participate in the Settlement?

  Collectively, the payments you will receive from the Class Net Settlement Fund and the FLSA
  Net Settlement Fund are referred to as your Settlement Share.

  If you do not exclude yourself from (“opt out” of) the Class Action Settlement, you will be a
  “Participating Class Member,” and you will receive a payment estimated to be $____________
  from the Class Net Settlement Fund. This payment is based on the number of workweeks you
  worked as a Class Member. It will be calculated by (a) dividing the Class Net Settlement Fund
  by the total number of workweeks worked by all Participating Class Members during the Class
  Period and (b) multiplying the result by each individual Participating Class Member’s
  workweeks during the Class Period.

  If you are also an FLSA Collective Member and you complete and timely mail the FLSA
  Collective Consent Form, you will be an “Opt-In Plaintiff,” and you will receive a payment
  estimated to be $____________ from the FLSA Net Settlement Fund. The Settlement Share for
  each Opt-In Plaintiff will be calculated by (a) dividing the FLSA Net Settlement Fund by the total
  number of workweeks worked by all Opt-In Plaintiffs during the FLSA Collective Period and (b)
  multiplying the result by each individual Opt-In Plaintiff’s workweeks worked during the FLSA
  Collective Period.

  Disputes as to Workweeks. If you wish to dispute the workweeks allocated to you, you must
  submit your dispute in writing to the Settlement Administrator by no later than _______ ___, 2021.
  You must include documentation to support your calculations. All disputes about workweek
  calculations will be resolved by the Settlement Administrator.

  Tax Treatment of Settlement Shares. Subject to approval by the Court, one-third (1/3) of each
  Settlement Share is in settlement of wage claims (the “Wage Portion”). The Wage Portion is

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 subject to wage withholdings and shall be reported on IRS Form W-2. Subject to approval by
 the Court, one-third (1/3) of each Settlement Share is in settlement of claims for interest and one-
 third (1/3) of each Settlement Share is in settlement of claims for penalties allegedly due to
 employees (collectively the “Non-Wage Portion”). The Non-Wage Portion will not be subject to
 wage withholdings and will be reported on IRS Form 1099. Except as provided here, you will be
 responsible for paying all federal, state and local taxes associated with your Settlement Share.

 Uncashed Settlement Share Checks. You must cash Settlement Share checks by no later than
 _________ ___, 2022. If your is returned to the Settlement Administrator within 120 days, the
 Settlement Administrator will make all reasonable efforts to re-mail it you at your correct
 address. If your Settlement Share check is not cashed within 120 days, the Settlement
 Administrator will also send you a notice informing you that unless the check is cashed in the
 next 60 days, it will expire and become non-negotiable, and offer to replace the check if it was
 lost or misplaced but not cashed. If the check remains uncashed by the expiration of the 60 day
 period after this notice, the funds from such uncashed checks will be redistributed as explained
 below.

 Redistribution and Cy Pres Distribution of Uncashed Settlement Share Checks. If the
 uncashed Settlement Share checks equal or exceed $100,000, the Settlement Administrator shall
 make a second distribution of the uncashed funds on a pro rata basis to the Participating Class
 Members and Opt-In Plaintiffs who previously cashed their Settlement Share checks. In the
 event of such a redistribution, the additional settlement administration costs related to the
 redistribution will be deducted from the total amount of uncashed checks prior to the
 redistribution. If a check to a Participating Class Member or Opt-In Plaintiff is returned to the
 Settlement Administrator as undeliverable during the second distribution, the Settlement
 Administrator shall promptly attempt to obtain a valid mailing address by performing a skip trace
 search and, if another address is identified, shall mail the check to the newly identified
 address. If none is found, then said check shall revert to the cy pres recipient. If there are
 uncashed check funds remaining from the redistribution, then the amount will revert to cy pres.

 If the value of the uncashed Settlement Share checks is less than this $100,000 threshold, the
 undistributed amount will be distributed cy pres equally between Pierce County Catholic
 Community Services and the Legal Foundation of Washington. The Participating Class
 Members and Opt-In Plaintiffs who did not cash their checks will remain bound by the
 Settlement.

8. How do I get my Settlement Share?

 To receive a payment from the Class Action Settlement, you don’t have to do anything. If
 the Court approves the Class Action Settlement, you will automatically become a Participating
 Class Member and receive a payment from the Class Net Settlement Fund.

 The FLSA Collective Action is different than the Class Action. Federal law requires that you opt
 in to the FLSA Collective Action to participate and receive a payment. If you are a FLSA
 Collective Member, to receive a payment from the FLSA Net Settlement Fund, you must
 complete the FLSA Collective Consent Form and mail it to the Settlement Administrator
 by no later than ___________ ___, 2021.
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 Not all Class Members are FLSA Collective Members. Because of differences in state and
 federal law, the Class Period begins on April 9, 2015, while the FLSA Collective Period begins
 on April 9, 2016, so Class Members who were not employed in covered positions after April 9,
 2016 cannot be FLSA Collective Members.

9. Who are the attorneys representing the parties?



        Attorneys for the Plaintiff and the                Attorneys for Defendants
             Class/FLSA Collective

    TERRELL MARSHALL LAW GROUP                      POLSINELLI PC
    PLLC                                            Donald L. Samuels, WSBA #56214
    Beth E. Terrell, WSBA #26759                    1401 Lawrence Street, Suite 2300
    Toby J. Marshall, WSBA #32723                   Denver, CO 80202
    936 North 34th Street, Suite 300                Telephone: (303) 572-9300
    Seattle, WA 98103-8869                          Facsimile: (303)572-7883
    Telephone: (206) 816-6603                       E-mail: dsamuels@polsinelli.com
    Fax:          (206) 319-5450
    Email:
          bterrell@terrellmarshall.com
          tmarshall@terrellmarshall.com

    SCHNEIDER WALLACE COTTRELL                      POLSINELLI PC
    KONECKY LLP                                     Jessica M. Andrade, WSBA #39297
    Carolyn H. Cottrell, CA Bar # 166977            1000 2nd Avenue, Suite 3500
    Ori Edelstein, CA Bar # 268145                  Seattle, WA. 98104
    Pro Hac Vice                                    Telephone: (206) 393-5400
    2000 Powell Street, Suite 1400                  Facsimile: (206) 393-5401
    Emeryville, CA 94608                            E-mail: Jessica.andrade@polsinelli.com
    Telephone: (415) 421-7100
    Fax:         (415) 421-7105
    Email:
         ccottrell@schneiderwallace.com
         oedelstein@schneiderwallace.com

    SCHNEIDER WALLACE COTTRELL
    KONECKY LLP
    William M. Hogg, TX Bar # 24087733
    Pro Hac Vice
    3700 Buffalo Speedway, Suite 960
    Houston, TX 77098
    Telephone: (713) 338-2560
    Fax:        (866) 505-8036



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       Email:
            whogg@schneiderwallace.com

    The Court has decided that the firms Terrell, Marshall Law Group PLLC and Schneider Wallace
    Cottrell Konecky LLP are qualified to represent you and all other Class Members and FLSA
    Collective Members simultaneously in this Settlement. You do not need to hire your own
    attorney because Class Counsel is working on your behalf. But, if you want your own attorney,
    you may hire one at your own cost.

10. What are my options?

    The purpose of this Notice is to inform you of the proposed settlement and of your options. Each
    option has its consequences, which you should understand before making your decision. Your
    rights regarding each option, and the steps you must take to select each option, are summarized
    below and explained in more detail in this Notice.

    Important Notice: Defendants will not retaliate against you in any way for either participating
    or not participating in this Settlement.

    DO NOTHING            PLEASE PAY CLOSE ATTENTION because doing nothing will have
                          different consequences for you as it relates to the Settlement of the
                          Class Action and the FLSA Collective Action. For the Class Action, if
                          you do nothing, you will receive money from the Class Net Settlement Fund
                          and will be bound by the Release of Class Action Claims. For the FLSA
                          Collective Action, if you do nothing, you will not receive money from the
                          FLSA Net Settlement Fund and will not be bound by the Release of FLSA
                          Collective Action Claims.
    OPT OUT               If you do not want to participate as a member of the Class Action, then you
                          may “opt out”in the manner described in Section 11 below, “How do I opt
                          out or exclude myself from this settlement,” which will remove you from
                          the Class Action. If the Court grants final approval of the settlement, you
                          will not receive a Settlement Share and you will not give up the right to sue
                          Defendants and the Released Parties for the Release of Claims by
                          Participating Class Members as defined in Section 13 below.
    OPT IN                Participate in the FLSA Collective Net Settlement Fund by Opting In.
                          If you want to participate in the FLSA Collective Net Settlement Fund and
                          receive a Settlement Share under the FLSA Collective Action Settlement,
                          then you must timely complete and mail the FLSA Collective Consent Form
                          to the Settlement Administrator as described in Section 8 above.
    OBJECT                You may file a legal objection to any aspect of the proposed settlement,
                          including the amount of fees requested by Class Counsel. You can object to
                          the Class Action Settlement or the FLSA Collective Action Settlement. If
                          you want to object to the Class Action Settlement, then you must not opt out
                          of the Class Action Settlement. And if you want to object to the FLSA

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                           Collective Action Settlement, then you must opt in by timely submitting
                           a FLSA Collective Consent Form.

     The procedures for opting out of the Class Action or objecting to either or both the Class Action
     Settlement and FLSA Collective Action Settlement are set forth below in Section 11, “How do I
     opt out or exclude myself from this Settlement?” and Section 12, “How do I object to the
     Settlement?”.

11. How do I opt out or exclude myself from the Class Action Settlement?

     If you do not want to take part in the Class Action Settlement, you must individually sign and
     mail a written Request for Exclusion to the Settlement Administrator at
     _______________________. The Request for Exclusion must be postmarked by _________
     ___, 2021 and actually received by the Settlement Administrator to be effective.

     If you submit a valid Request for Exclusion, you will not receive a Settlement Share, and you
     will not be bound by the Settlement and the Final judgment entered by the Court. You also will
     not be permitted to file objections to the Settlement or appear at the Final Approval Hearing to
     voice any objections to the Settlement. The Court’s entry of the Final Judgment, following Final
     Approval of the Settlement, will be binding on all Class Members who do not request exclusion
     from the Settlement.

12. How do I object to the Settlement?

     If you who wish to object to the Settlement or any aspect of it, including Class Counsel Fees
     Payment, Class Counsel Litigation Expenses Payment, or the Class Representative Service
     Payments, you may do so, either in writing or orally at the final approval hearing. Objections in
     writing must be submitted to the Settlement Administrator with copies to the Parties’ Counsel and
     postmarked no later than _________ ___, 2021. Objections must set forth the factual and legal
     grounds for the objection. If you make a timely objection, you are entitled, but are not required,
     to be heard regarding your objection at the final approval hearing either by you personally
     appearing or by your own attorney appearing for you.

     If you do not submit a timely objection, you will be deemed to have waived any objection and will
     be foreclosed from making any objection (whether by appeal or otherwise) to the Settlement,
     unless otherwise excused by the Court upon a showing of good cause. If you file a valid Request
     for Exclusion as provided in Section 11 above, you will have no ability to comment on or object
     to the Settlement.

  13. How does the Settlement affect my rights?

     If the proposed Settlement is approved by the Court, a Final Judgment will be entered by the Court.
     All Class Members who do not opt out of the Settlement will be bound by the Court’s Final




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  Judgment and will release Defendants and the Released Parties1 from the Release of Claims by
  Participating Class Members. The Release of Claims by Participating Class Members provides as
  follows:

  Release of Claims by Participating Class Members. As of the Effective Date, Participating
  Class Members will fully and finally release and discharge Defendants and the Released Parties
  from any and all state or local claims, obligations, demands, rights, actions, causes of action and
  liabilities, whether known or unknown, that were alleged or that reasonably could have been
  alleged based on the facts alleged in the Complaint, including claims for unpaid overtime wages,
  unpaid wages, minimum wage violations, meal period violations, rest period violations, failure to
  pay wages at termination, restitution, penalties, interest, liquidated damages, double damages,
  treble damages, exemplary damages, attorneys’ fees, costs, disbursements and expenses, including
  without limitation claims under RCW 19.52.020, RCW 49.12.010, RCW 49.12.020, RCW
  49.12.050, RCW 49.12.150, RCW 49.12.170, RCW 49.46.020, RCW 49.46.030, RCW 49.46.090,
  RCW 49.46.130, RCW 49.48.010, RCW 49.48.030, RCW 49.52.050, RCW 49.52.070, WAC 296-
  126-023, WAC 296-126-092, WAC 296-128-010, WAC 296-126-040 and claims for violation of
  the Washington Consumer Protection Act, RCW 19.86.

  If the proposed Settlement is approved by the Court, a Final Judgment will be entered by the Court.

  All FLSA Collective Members who are Opt-In Plaintiffs will be bound by the Court’s Final
  Judgment and will also release Defendants and the Released Parties from the Release of Claims by
  Opt-In Plaintiffs which is an additional release to the Release of Claims by Participating Class
  Members discussed above. The Release of Claims by Opt-In Plaintiffs provides as follows:

  Release of Claims by Opt-In Plaintiffs. As of the Effective Date, Opt-in Plaintiffs shall fully
  and finally release and discharge Defendants and the Released Parties from all FLSA claims,
  whether known or unknown, that were alleged or that reasonably could have been alleged based
  on the facts alleged in the Complaint.

  The Effective Date is the date the Settlement is approved by the Court and the Final Judgment
  becomes final as defined in the Settlement Agreement.

 14. How will the attorneys for the Class and FLSA Collective be paid?

  The attorneys for the Class and FLSA Collective will be paid from the Gross Settlement Fund.
  Subject to Court approval, Class Counsel shall be paid an amount not to exceed one-third of the
  Gross Settlement Fund ($1,833,333.33) in fees and up to $__________ in litigation costs. The
  Plaintiff will also be paid, subject to Court approval, an amount not to exceed $10,000, as an
  enhancement for the initiation of and prosecution of this case, the risks undertaken for the payment
  of costs in the event this case had been lost, and a general release of all claims.

15. When and where will the Court decide whether to approve the Settlement?

  1
   “Released Parties” means Defendants, their parents, predecessors, successors, all affiliates,
  subsidiaries, and their respective officers, directors, agents, employees, and stockholders.
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The Court will hold a final approval hearing (also called a fairness hearing) to decide whether to
finally approve the Settlement. The hearing will be on _______ ___, 2021 in Courtroom ___ at
the United States District Court for the Western District of Washington, which is located at 700
Stewart Street, Suite 2310, Seattle, WA 98101. The hearing may be moved to a different date or
time without additional notice.

At the hearing, the Court will consider whether the settlement is fair, reasonable and adequate. If
you have filed a timely objection, the Court will consider it, and you may choose to speak at the
hearing. The Court will decide how much to pay (1) the Settlement Administrator for settlement
administrations costs, (2) the Plaintiff for her role as the Class Representative, and (3) Class
Counsel for attorneys’ fees and costs. After the hearing, the court will decide whether to approve
the settlement. We do not know how long the Court’s decision will take.

You do not need to go to the hearing. Class Counsel and Defendants’ lawyers will answer any
questions the Court may have. But you are welcome to come at your own expense. If you send
an objection, you don’t have to go to court to talk about it. As long as you mailed your objection
on time, the Court will consider it. If you have filed a timely objection, you may pay another
lawyer at your own expense to attend the hearing and appear on your behalf, but it is not required.

16. How do I get more information?

IF YOU NEED MORE INFORMATION OR HAVE ANY QUESTIONS, you may contact
Class Counsel listed above, or the Settlement Administrator at the telephone number listed below,
toll free. Please refer to the Etcheverry v. Franciscan Health System Class and Collective Action
Settlement.

This Notice, which has been approved by the Court, is only a summary. A more detailed Settlement
Agreement contains the complete terms of the Settlement, and is on file with the Court, where it
is available for your review. For more detailed information, you may refer to the underlying
documents and papers on file with the Court at United States District Court Western District of
Washington, 700 Stewart Street, Suite 2310, Seattle, WA 98101, from 7:00 a.m. to 5:00 p.m.,
Monday through Friday, or may ask for a free copy from Class Counsel.

PLEASE DO NOT TELEPHONE THE COURT FOR INFORMATION AB OUT THIS
SETTLEMENT.




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                     EXHIBIT B
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                United States District Court Western District of Washington

     Hana Etcheverry v. Franciscan Health System d/b/a CHI Franciscan Health, Franciscan
          Medical Group, Franciscan Health Ventures, Harrison Medical Center, and
                   Harrison Medical Center Foundation (the “Defendants”)

                              Case No. 3:19-cv-05261-RJB-MAT

                          FLSA COLLECTIVE CONSENT FORM

        CONSENT TO JOIN/OPT-IN TO FAIR LABOR STANDARDS ACT CLAIM

You must fill out this FLSA Collective Consent Form and mail it, postmarked by no later
than ____________ ___, 2021 in order to opt-in to the FLSA Collective and receive a
payment from the FLSA Collective Net Settlement Fund. If you are an FLSA Collective
Member and timely complete and submit this form, you will be an Opt-In Plaintiff and will
receive a Settlement Share from the FLSA Net Settlement Fund as provided in Section 7 of
the Notice of Class and Collective Action Settlement (the “Notice”). If you do not fill out
and return this form postmarked by ___________ ___, 2021, you will not receive a
Settlement Share from the FLSA Collective Net Settlement Fund.

My signature below confirms that I worked as an hourly, non-exempt employee employed by
Defendants in Washington in one or more of the job classifications listed in Section 4 of the
Notice and was subjected to an automatic time deduction policy at any time from April 9, 2016
through ___________ ___, 2021 (the “FLSA Collective Period”).

Print Name: ___________________________________________

Signature: _____________________________________________

Date Signed: ___________________________________________

Note: If you were not employed by the Defendants in one of the positions listed in Section 4 of
the Notice during the FLSA Collective Period, do not fill out or return this form. You are not an
FLSA Collective Member.




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             SECTION 1. EMPLOYMENT INFORMATION
             Franciscan Health System d/b/a CHI Franciscan Health, Franciscan Medical Group, Franciscan Health
             Ventures, Harrison Medical Center, and/or Harrison Medical Center Foundation’s (“CHI Franciscan”)
             business records show that between April 9, 2016 and ____, 2021 (“FLSA CollectiveSettlement
             Period”), you worked at a CHI Franciscan-affiliat ed hospital or clinic as a non-exempt patient care
             provider in the State of Washington. The estimated pay rate for these daily shifts is $ ____ per
             workweek. Based on that estimate and the amount of workweeks you worked during the FLSA
             Collective Settlement Period, you willreceive an additional Settlement Payment estimated at $____,less
             taxes.

             If you disagree with the employment dates listed above and/or your number of daily shifts worked during
             the FLSA Collective Settlement Period, please indicate below or on a separate piece of paper, (1) what you
             believe to be the correct dates you worked as a non-exempt patient care provider for CHI Franciscan at
             a healthcare facility in the State of Washington during the FLSA Collective Settlement Period; and/or (2)
             the number of workweeks you believe you worked during FLSA Collective Settlement Period. In addition,
             explain why you believe CHI Franciscan’s records are mistaken, and attach all supporting documentation:


             SECTION 2. FLSA CONSENT TO JOIN / OPT-IN TO THE CASE.
             By submitting this claim form, I consent to join the collective in the FLSA portion ofthe Etcheverry v.
             Franciscan Health System action and elect to participate in the settlement and release of the FLSA claims.
             SECTION 3. RELEASE AND SIGNATURE
             I understand that by operation of the Final Approval Order and Judgment, I shall have released Franciscan
             Health System, d/b/a CHI Franciscan Health, Franciscan Medical Group, Franciscan Health Ventures,
             Harrison Medical Center, and Harrison Medical Center Foundation, and all its past, present, or future
             officers, directors, shareholders, employees, agents, principals, heirs, representatives, accountants, auditors,
             attorneys, consultants, insurers, and reinsurers, and its successors and predecessors in interest, subsidiaries,
             affiliates, parents, and all company-sponsored employee benefit plans, all of its officers, directors,
             employees, administrators, fiduciaries, trustees, and agents, and any related entity that employed me during
             the April 9, 2016, through _____, 2021 (“Released Parties”) from the Released FLSA claims as defined in
             the accompanying Notice.




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